Case 1:23-cv-04070-JHR-SAK Document 10-4 Filed 10/05/23 Page 1 of 5 PagelD: 154

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WIDMAN

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PHYLLIS WIDMAN @ @ © ADMISSIONS:

PWIDMAN@WIDMANLAWFIRM.COM U.S. Court oF Feperat Clams @
U.S. SupREME Court @

CaroL_yn T. GRIFFIN ¢A @ Orecon Stare Court A

CGRIFFIN@WIDMANLAWFIRM.COM New Jersey State Court @

July 28, 2023

VIA EMAIL: BILL@BLANEYDONOHUE.COM
Attention: Bill Blaney, Esquire

Egg Harbor Township Police Department

3515 Bargaintown Road

Egg Harbor Township, NJ 08202

VIA EMAIL: PBA77BA@COMCAST.NET
Attention: Jeffrey Lancaster & Reynold Theriault
Mainland Local PBA #77

6712 Washington Ave., Suite 104

Egg Harbor Township, NJ 08234

RE: Christopher Leary v. Egg Harbor Township Police Dept., et al.

Dear Respondents:

Enclosed herewith please find a copy of Officer Christopher Leary’s complaint filed

today with the Public Employment Relations Commission, fax confirmation and copy of proof of
service.

Should you need anything further, please contact my office.

Sincerely,
WIDMAN LAW FIRM, LLC

/s/ Phyllis Widman
Phyllis Widman, Esq.

PW/tlc
/Enclosure
ce: Christopher Leary
Case 1:23-cv-04070-JHR-SAK Document 10-4 Filed 10/05/23 Page 2 of 5 PagelD: 155

Phyllis Widman, Esq. (ID: 004861999)
WIDMAN LAW FIRM, LLC

2000 Shore Rd., 201

Linwood, New Jersey 08221

O: (609) 848-5692 C: (732) 829-3416
FAX: (609) 788-4527

pwidman@widmanlawfirm.com

www.widmanlawfirm.com
Attorneys for Charging Party, Officer Christopher Leary

STATE OF NEW JERSEY, PUBLIC EMPLOYMENT RELATIONS
COMMISSION

UNFAIR PRACTICE CHARGE

I hereby certify that an original of the following document, was submitted and

transmitted via email (mail@perc.state.nj.us) and fax (to: 609.777.0089) to the parties listed

below:

Egg Harbor Township Police Department

VIA EMAIL TO COUNSEL: bill@blaneydonohue.com
3515 Bargaintown Rd.

Egg harbor Township, NJ 08202

Mainland Local PBA #77

VIA EMAIL: pba77ba@comceast.net

Attention Jeffrey Lancaster and Reynold Theriault
6712 Washington Ave., Suite 104

Egg Harbor Township, NJ 08234

I certify that the foregoing statements are true. I am aware that any of the foregoing

statements made by me are willingly false, I am subject to punishment.

Widman Law Firm, LLC

Dated: July 28, 2023 [s[Phyllis Widman.

Phyllis Widman, Esq.
Attorney-at-Law
State of New Jersey

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OGRIEARWIOMANEAWPIRM.COM, New Jersey Stare Cour ©
July 28, 2023
Enuzil: mail@perc.state.nj.us
Box: (609}777-0089
Pablic Employment Relations C
RO. Box 429
Trenton, NJ 08625-0429
RE: Christopher Leary v. Egg Harbor Township Police Dept., et aL
Dear Six/Madam:

Enclosed herewith please find an Unfair Practios Charge for filing, as well as proof of
secvice, on behalf of the above-named charging party.

Shoukd you need anything further, please contact ny office.

Sincerely, :
‘WIDMAN LAW FIRM, LLC
Phyllis Widman, Esq,

Pwiie

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co: = Chnistopher Leary
AK Docwanabe Rew stxgeg 10/05/23 Page 4 of 5 PagelD: 157

PUBLIC EMPLOYMENT RELATIONS COMMISSION For Court b
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TRENTON, NEW. JERSEY. 08625-0429

Trenton, NJ 08818
UNFAIR PRACTICE CHARGE
www state ni usipere
Phone: 609-282-6780 Email: mail@perc.state.nj.us Fai: 609-777-0089
| DO NOT WRITE IN THIS SPACE

| Read Instructions in the middle of this page before completing the form. DOCKET NO.

DATE FILED:
7. CHARGING PARTY
Full Name: E-malt Address: Telephone Now
Christopher Leary ssmmnl@aol.com | (609) 338-7742
Addrass of Charging Party (Steet and Number City, State and Zip- Code): : . 7 Sean
|4 Knight Court /Egg Harbor Township, NJ 08234 |] Atlantic -
Name and Title-of Rep i y tant to Contact: E-mail Address: Telephone Nox
Widman Law Firm, LLC /f Phyllis: Widman, Esq: : pwidman@widmaniawfirm.com {609)-848-5692
Re i yi Address (Street and Number, City, State and Zip Cade}:

2000 Shore Road, Suite 207, Linwood, NJ.08221

2.__RESPONDENT(S) (Must bea public employer and/or employee organization against whom the charge is made. Cannot be an individual person.)

Respondent 1 Full Name: E-mail Address; Telephone No!
Egg Harbor Township Police Department bill@blaneydonohue.com (609) 435-5368
Address of Respondent (Street and Number, City; State and Zip Code): County:
3515 Bargaintown Rd, Egg Harbor Township, NJ.08234 Atiantic
Name.and Title of Rep vel yiConsultant to Contact E-mail Address: Telephone Ne.
Bill Blaney, Esq. bill@blaneydonohue.com (609) 435-5368
Rep ivelA yi Ackiress (Street and Number, City, State and Zip Code):
2123 Dune Drive #11, Avaion, NJ 08202
Rospondent 2 Full Namie: E-mail Address: Telephone Nez
Any) Mainland Local PBA #77 PBA77BA@comeast net (609) 576-9377
Address of Respondent (Street and Namber, City, State and Zip Code}: . County:
8712 Washington Avenue, Suite 104, Egg Harbor Township, NJ 08234 Allantic
” Name and Title of % ivelAttorney/Consultant to Coritazt E-mail Address; Telephone No:
Jeffrey Lancaster and Reynold Theriault PBA77BA@comcast.net | (609) 876-9377

Rep sy Address: Street and Number, City, State and Zip Code):
8742 Washington Avenue, Suite 104,.Egg Harbor Township, NJ 08234

INSTRUCTIONS FOR FILING AN UNFAIR PRACTICE CHARGE

(1) Type or clearly print ail information and complete all sections of the charge.

(2) Under Section 3 (Statement of Charge) provide a CLEAR AND CONCISE statement of the specific facts (not just cursory legal
allegations} constituting the alleged unfair practice. If you need more space for your statement, then attach it fo the charge. You may
hot rely on other documents (such as letters, emails, or memoranda) submitted with the charge to constitute your statement. You
must instead identify the relevant facts in your charge.

(3) The Statement of Charge must:
a. fist the subsections of the Act alleged to have been violated (at the top of Section 3);

b. specify the date, and, to the extent known, the place the alleged acts occurred and the names of the persons alleged-to have
committed such acts.

(4) In Section 4, state specifically the temedy you are asking the Commission to-order:
(5) Sign and date the Certification in Section $ at the end-of the second page. Provide'a ‘new signature and date for any amendments:
(6) File the charge by sending it by email to mail@perc.state.nj.us, by fax to 609-777-0089, or by mail/courier to the addresses above,

(7} You must include with your filing proof that you served a copy of the charge on the respondent(s).. Proof can take the form ofa
statement explaining how, when, and on: whom the charge has been served. You can also CC respondents if filing by email.

A CHARGE WILL NOT BE PROCESSED IF THE ABOVE REQUIREMENTS ARE NOT MET.

3. STATEMENT OF CHARGE

List the subsection(s) of N.US.A. 34:134-5;4(@) that you allege the public employer Tespondenit{s) violated: (1) 8){7)
List the subsection(s) of N.S.A, 34:13A4-5.4(b) that you allege the employee organization respondents} violated: (1) (2) 8) ©)

{See next page for additional space)

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Statement.of Charge Continued sa

Further, the EHT PD breached its contract with Officer Leary's Union, Mainland Local PBA #77 (the "Union"), of which Officer Leary is a third party beneficiary,
by refusing to allow him to see the full results of his promotional tests. Chief of Police Michael Hughes was responsible for entering into.the contract. with
NJSACOP that contradicts the union contract. Officer Leary attempt ed to resolve this issue through the Police Departments internal grievance process, but
was not afforded any relief. Officer Jeffrey Lancaster, President of the Union, failed to:take action on Officer Leary's behalf. Officer Reynold Theriault was the
union representative responsible for representing Officer Leary throughout his Grievance process. Both Officer Lancaster-and Officer Theriault failed to bring
the maiter to arbitration and otherwise represent properly represent Officer Leary, despite Officer Leary's wishes and requests.

“The EHT PD knew at all times before, during, and after the Promotional testing was administered that they were not upholding their contract with the
Union/Officer L r "Seco é

Had Officer Leary been afforded the opportunity to see his test results, he would have had more information to base his grievance and appeal_on, and it could
potentially have affected where he finished on the promoticnal list In addition, the promotions were made official prior to their expected. timeline and.during the

The Union breached its duty of fair representation in the grievance process in several ways.-Among other reasons, the Union did.not fight to make sure the
contract discrepancies would actually be resolved and it intentionally conspired. with the police department, choosing the department-over its own charge ,

| Officer Leary. Upon information and: belief, this decision was not based on the merits of the Grievance, but instead upon conspiracy, discrimination, and
breach of contract. :

eary that requires them to disclose the testing results due to their secondary contract with the third party test administrator. Iti fact; former Chief

a.

REMEDY SOUGHT (State ihe remedy you request the Commission to order}

For Respondents to provide the additional requested. information regarding Mr. Leary's test scores in accordance with the
contract between the Township and:the Union, and to provide for the following types of remedies - economic, punitive,
incidental, and comperisatory damages, including, but not limited to: intentional, mental and emotional suffering caused by this
incident, past and future wages, promotion, among other requests. Requester also submits that the contract with NJSACOP or
any alternative promotional exam administrator be directed to disclosure scores in accordance with the contract between the
Union and the Township. As well as any and all remedies available for breach of contract claims under the law.

PLEASE ADVISE:
1) Has a grievance been filed which is based upon the same facts alleged in the charge or is otherwise related to the charge?

@ Yes a No if yes, what is the status of the grievance?

Marked as "resolved," but no resolution was actually achieved, Mainiand Local PBA #77 refused to pursue arbitration despite Requester's desires to
arbitrate. ve : .

2) Are there any filings at PERC, in court, at the Office of Administrative Law, or before any other administrative agency which are
based upon the same facts alleged in the charge or are otherwise related to the charge?

2 Yes No If yes, please specify what they-are. If possible, please include docket numbers.
A civil court tawsuit has been filed simultaneously. “ ,

3} Are the parties in negotiations?

a Yes No If yes, in what stage of the negotiations process are the parties (negotiations,
mediation, fact-finding, super conciliation, interest arbitration)? Please iiclude the.
date of the next scheduled negotiations session.

Respondents have not shown much interest in negotiations at this point. The undersigned's counsel has contacted counsel for the EHT PD in efforts to
have good faith negotiations, but counsel for ENT PD ‘has not provided any response. ,

6. CERTIFICATION

| declare that. have xead the above charge and that the information is trust the best. of my knowledge and belief.
By. Vor

e ahohs

LAR eon Charaiing (Doty

""{Slgnaturey Pe) “(Date)”

a ene
